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                      UNITED STATES DISTRICT COURT
                      WESTERN DIVISION OF LOUISIANA
                           LAFAYETTE DIVISION

 John Thibodeaux, et al.                       Civil Action No. 6:18-00501

 versus                                        Judge Robert R. Summerhays

 J.M. Drilling, LLC, et al.                    Magistrate Judge Carol B. Whitehurst


                               RULING AND ORDER

          Pending before the undersigned magistrate judge is the Motion to Transfer

 [Doc. 8] filed by defendant Rockhill Insurance Company (“Rockhill”). In its motion,

 Rockhill seeks to transfer the above-captioned matter to a related matter filed in the

 United State District Court for the Western District of Tennessee – Eastern Division,

 bearing the caption Rockhill Insurance Company v. J.M. Drilling, LLC, Civil Action

 No. 18-1050.      The motion is opposed by plaintiffs John Thibodeaux, Amy

 Thibodeaux, Gabrielle Thibodeaux, and Emily Thibodeaux (collectively, the

 “plaintiffs”) [Doc. 18].     Bellsouth Telecommunications, LLC (“Bellsouth,” as

 claimant, claimant-in-cross-claim, and claimant-in-counterclaim) filed a response,

 adopting the response of the plaintiffs [Doc. 20], as did defendant J.M. Drilling, LLC

 (“J.M. Drilling”) [Doc. 21]. Rockhill filed three reply briefs [Docs. 35, 37, & 39].

 For the following reasons, the Motion to Transfer is DENIED.
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        The declaratory judgment action in this Court arises out of a Louisiana personal

 injury case.     John and Amy Thibodeaux, individually and on behalf of their

 daughters, Gabrielle and Emily Thibodeaux, filed suit against J.M. Drilling and others

 as a result of injuries allegedly sustained by John Thibodeaux in a work-related

 accident. Thibodeaux filed suit in the 15th Judicial District Court for the Parish of

 Lafayette, Louisiana on August 14, 2015. In January 2017, all defendants in the

 underlying Thibodeaux state court lawsuit, except J. M. Drilling, were dismissed on

 motions for summary judgment.1 After a jury trial on March 26-29, 2018, the jury

 returned a verdict in favor of the underlying Thibodeaux lawsuit plaintiffs in the

 amount of $3,698,118. On April 16, 2018, the Louisiana state court entered judgment

 against J. DM. Drilling for the amount awarded by the jury and in favor of intervenor

 BellSouth Communications on its claim for reimbursement of worker’s compensation

 benefits paid to John Thibodeaux.

        Admiral Insurance Company (“Admiral”) was J.M. Drilling’s primary

 commercial liability insurer, with policy limits of $1,000,000.00. Admiral accepted

 coverage for the allegations in the undersigned state court lawsuit and retained

 counsel to defend J.M. Drilling. J.M. Drilling’s excess insurer was Rockhill; the


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           J.M. Drilling was left as the sole defendant in the case. BellSouth’s intervenor claim
 against J.M. Drilling for reimbursement of worker’s compensation benefits paid to John Thibodeaux
 through the date of trial also remained pending.

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 policy in question has limits of $5,000,000.00 and lists Admiral as the underlying

 primary insurer in the Schedule of Underlying Insurance.

       On March 26, 2018 – before the jury rendered its verdict in the underlying

 Louisiana state court case – Rockhill filed a declaratory judgment action against J.M.

 Drilling in the United States District Court for the Western District of Tennessee,

 Eastern Division, Case No. 18-1050, seeking a declaration that Rockhill has no duty

 to defend and indemnify any party for any of the claims asserted in the underlying

 Louisiana state court lawsuit. J.M. Drilling filed a counterclaim against Rockhill for

 breach of contract and bad faith. The only parties to the Tennessee lawsuit were

 Rockhill and J.M. Drilling.

       Shortly after the Louisiana state court jury returned its verdict, on April 12,

 2018, the underlying Thibodeaux plaintiffs filed a separate declaratory judgment

 action in this court, naming as defendants J.M. Drilling, Admiral, Rockhill, and

 Bellsouth, and seeking a declaration that there is coverage under the Rockhill policy

 for plaintiffs’ damages in excess of the $1,000,000.00 policy limits under the Admiral

 policy. On May 16, 2018, Rockhill filed the instant motion to transfer this matter to

 the Western District of Tennessee [Doc. 8]; the underlying state court plaintiffs, as

 well as J.M. Drilling and Bellsouth, oppose the motion.

       Meanwhile, in the Tennessee federal court case filed by Rockhill, J.M. Drilling

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 moved to dismiss the case under Rule 19 of the Federal Rules of Civil Procedure on

 grounds the underlying state court plaintiffs and Bellsouth were necessary and

 indispensable parties who had not been joined in the Tennessee action and could not

 be joined because of the Tennessee court’s lack of personal jurisdiction over them.

 In the alternative, J.M. Drilling asked the Tennessee federal court to decline to

 exercise discretionary jurisdiction over the action in light of the Louisiana federal

 action proceeding in this Court.

       This Court deferred ruling on Rockhill’s motion to transfer filed in the instant

 action until the Tennessee federal court took action on the motion to transfer filed in

 that case, as the briefing in connection with the Tennessee motion addressed the

 issues raised in the motion pending before this Court. On October 30, 2018, the

 Tennessee court granted J.M. Drilling’s motion to transfer the Tennessee federal court

 action to this Court, while declining to rule on the motion to dismiss. In its ruling,

 the Tennessee federal court determined that under 28 U.S.C. §1404(a), for the

 convenience of the parties and witnesses, and in the interests of justice, the Tennessee

 case would more properly proceed in Louisiana federal court. The Tennessee court

 specifically found that the Louisiana federal court action contains both coercive and

 declaratory claims, and noted the presumption that substantive cases should take

 precedence over declaratory actions, the location of all witnesses and evidence in

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 Louisiana (except for the confection of the Rockhill policy), and the fact that

 judgment had been rendered by the Louisiana state court jury in Louisiana.

       In the instant motion, Rockhill seeks a transfer of the instant case to the

 Western District of Tennessee and a stay to determine whether the two cases should

 be consolidated in the Tennessee federal court. For the following reasons, the motion

 is DENIED.

       In its motion, Rockhill argues the Tennessee federal court is the more

 appropriate venue for this action, in large part because that case was the first to be

 filed, and because the Rockhill insurance policy was confected in Tennessee.

 However, the Tennessee court laid out the reasons the lawsuits would be more

 appropriately litigated in Louisiana federal court, and this Court agrees with the

 Tennessee court’s Section 1404(a) analysis and conclusion that the cases more

 appropriately proceed in this Court. To that end, the ruling of the Tennessee federal

 court is referenced and adopted herein in globo. Moreover, at this juncture, there is

 no related case pending in the Tennessee court, as that matter has already been

 transferred to this Court. In essence, the issue of transfer to the Tennessee federal

 court has become a moot one.

       Considering the foregoing, IT IS ORDERED that the Motion to Transfer [Doc.

 8] filed by defendant Rockhill Insurance Company (“Rockhill”) is DENIED.

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       THUS DONE AND SIGNED at Lafayette, Louisiana, this 13th day of

 December, 2018.




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